                             Case 1:17-cr-10101-IT Document 30 Filed 08/22/17 Page 1 of 6
 AO 24SB (Rev. 10/15) Judgment in a Criminal Case
                      Sheet 1




                                             United States District Court
                                                       District of Massachusetts
               UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                    V.

                             KEVIN AMELL                                       Case Number: 1: 17 CR 10101                  -   IT    - 1

                                                                               USM Number: 00246-138

                                                                                Karen Pickett
                                                                               Defendant's Attorney
 THE DEFENDANT:

 0 pleaded guilty to count(s)            1

 • pleaded nolocontendere to count(s)
    which was accepted by the court.
 • wasfound guilty on count(s)
    after a plea of not guilty.

 The defendant is adjudicated guilty of these offenses:

 Title & Section                   Nature of Offense                                                       Offense Ended             Count

15 use §§ 78j(b) and            Securities Fraud                                                             02/28/17       1
78ff(a); andl7USC
CFR§ 240.10b-5



        The defendant is sentenced as provided in pages 2 through                      of this judgment. The sentence is imposed pursuant to
 the Sentencing Refonn Act of 1984.
 • The defendant has been found not guilty on count(s)
 • Count(s)                                            •   is    • are dismissed on the motion of the United States.

         It isordered thatthedefendant must notify theUnited States attomey forthis district within 30days ofany change ofname, residence,
 ormailingaddress until all fines, restitution, costs, and special assessments imposed bythisjudgment are fully paid. Ifordered topay restitution,
 the defendant must notify the court andUnited States attomey of material changes in economic circumstances.
                                                                        8/16/2017
                                                                       Date of Impositionof Judgment




                                                                          lature ofJudge

                                                                                Indira Talwani
                                                                                U.S. District Judge
                                                                       Name and Title ofJudge


                                                                                                       n
                                                                       Date
                             Case 1:17-cr-10101-IT Document 30 Filed 08/22/17 Page 2 of 6
A024SB (Rev. 10/IS) Judgment in Criminal Case
                      Sheet 2 — Imprisonment
                                                                                                     Judgment—Page         of
 DEFENDANT: KEVIN AMELL
 CASE NUMBER:             1: 17 CR 10101             - IT    - 1

                                                             IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:         18        monthCs)




     0   The court makes the following recommendations to the Bureau of Prisons:

  The court recommends the defendant be designated to the camp at PCI Florence, Florence, Colorado.



     •    The defendant is remanded to the custody of the United States Marshal.

     •    The defendant shall surrender to the United States Marshal for this district:

          •    at                                •    a.m.     •    p.m.       on
          •    as notified by the United States Marshal.

     0    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          la before 2p.m. on           10/16/2017                          .
          •    as notified by the United States Marshal.
          •    as notified by the Probation or Pretrlal Services Office.


                                                                   RETURN

 I have executed this judgment as follows:




          Defendant delivered on                                                          to


                                                     , with a certified copy ofthis judgment.



                                                                                                   UNITED STATES MARSHAL



                                                                           By
                                                                                                DEPUTY UNITED STATES MARSHAL
                               Case 1:17-cr-10101-IT Document 30 Filed 08/22/17 Page 3 of 6

AO 24SB (Rev. 10/lS) Judgment in a Criminal Case
                       Sheet 3 — Supervised Release
                                                                                                          Judgment—^Paee    ^      of
 DEFENDANT:               KEVIN AMELL
 CASE NUMBER:                1: 17 CR 10101             - IT - 1
                                                           SUPERVISED RELEASE

 Upon release from imprisonment, the defendant shall be on supervised release for aterm of:                     i year(s)


              Thedefendant mustreport to theprobation office inthedistrict to which thedefendant isreleased within 72hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shallnot unlawfully possess a controlled substance. The defendant shallrefrainfrom any unlawful use of a controlled
 substance. TTie defendantshall suomitto one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
 •         The above drug testing condition is suspended, based on the court's determination that the defendant poses a lowrisk of
           future substance abuse. (Check, tfapplicable.)

 0         The defendant shallnot possess a firearm, ammunition, destructive device, or any otherdangerous weapon. (Check, ifapplicable.)
 0         The defendantshall cooperatein the collectionof DNA as directedby the probationofficer. (Check, ifapplicable.)

 n         Thedefendant shall comply with the requirements of the SexOffender Registration andNotification Act(42U.S.C. § 16901, e/ seq.)
           as directed by theprobation officer, theBureau of Prisons, or any state sexoffender registration agency in which he or she resides,
           works, is a student, or was convicted of a qualifying offense. (Check, ifapplicable.)

 •         The defendant shallparticipate in an approved programfor domestic violence. (Check, ifapplicable.)
               If this judgment imposes a fme or restitution, it is a condition of supervised release thatthedefendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
               The defendant must comply with thestandard conditions thathave been adopted bythis court aswell aswith any additional conditions
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
     1)     the defendant shall not leave thejudicial district without the permission of the court or probation officer;
     2)     the defendant shall report to theprobation officer in a manner and frequency directed by thecourt or probation officer;
     3)     thedefendant shall answer truthfully all inquiries bytheprobation officer and follow the instructions of theprobation officer;
     4)     the defendant shallsupport his or her dependents and meetotherfamily responsibilities;
     5)     the defendant shall work regularly at a lawful occupation, unless excused bythe probation officer for schooling, training, or other
             acceptable reasons;
      6) the defendant shall notify theprobation officer at least tendays prior to any change in residence or employment;
      7) thedefendant shall refrain from excessive use of alcohol and shall notpurchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except asprescribed bya physician;
      8) thedefendant shall notfrequent places where controlled substances areillegally sold, used, distributed, or administered;
      9) thedefendant shall notassociate with any persons engaged incriminal activity and shall notassociate with any person convicted of a
         felony, unless granted permission to do so by die probation officer;
     10) the defendant shall permit a probation officer toyisit him orheratany time athome orelsewhere and shall permit confiscation ofany
             contraband observed in plain view ofthe probation officer;
     11) the defendant shall notify the probation officer within seventy-two hours ofbeing arrested orquestioned bya law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
             permission of the court; and
     13)     asdirected bythe probation officer, thedefendant shall notify third parties ofrisks that may beoccasioned bythe defendant's criminal
             record orpersonal history or characteristics and shall permit the probation officer to make such notifications and to confinn the
             defendant"^ compliance with such notification requirement.
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AO 24SB (Rev. 10/15)Judgment in a Criminal Case
        Sheet 3C — Supervised Release
                                                                                            Judgment—Page   4     of
DEFENDANT: KEVIN AMELL
CASE NUMBER:             1: 17 CR 10101           - IT   - 1

                                         SPECIAL CONDITIONS OF SUPERVISION



 1. Defendant must pay the balance of any fine or restitution imposed according to a court-ordered repayment schedule.

 2. Defendant is prohibited from incurring new credit charges or opening additional lines of creditwithout the approval of the
 Probation Office while any financial obligations remain outstanding.

 3. Defendant must provide the Probation Office access to any requested financial information, which may be shared with
 the Financial Litigation Unit of the U.S. Attomey's Office.
                           Case 1:17-cr-10101-IT Document 30 Filed 08/22/17 Page 5 of 6
A0 245B (Rev. 10/15)JudgmentinaCriminalCase
         Sheet 5 — Criminal Monetary Penalties
                                                                                                            Judgment — Page
 DEFENDANT:             KEVIN AMELL
 CASE NUMBER:              1: 17 CR 10101 - IT - 1
                                      CRIMINAL MONETARY PENALTIES

       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                                                                                 Restitution
TOTALS              $    100.00                                                                                $    1,535,353.00



 •     The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case(A0245C) will be entered
       after such determination.


 0     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If thedefendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
       the priority order or percentage payment columnbelow. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
       before the United States is paid.

     Name of Payee                                                                Total Loss*          Restitution Ordered       Priority or Percentage
                                                                                             f.




                                                                                                  0.00 $     1,535,353.00
 TOTALS



 E      Restitution amount ordered pursuant to plea agreement $ 1,535,353.00

 •      The defendant mustpay interest on restitution and a fine of morethan$2,500, unless the restitution or fme is paid in full before the
        fifteenth day after the date of the judgment,pursuant to 18 U.S.C. § 3612(f). All of the paymentoptions on Sheet 6 maybe subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 •      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        •   the interest requirement is waived for the       •       fine     •     restitution.

        •   the interest requirement for the     •    fine       •     restitution is modified as follows:

 * Findingsfor the total amountof lossesare requiredunderChapters 109A, 110, llOA, and 113A ofTitle 18for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
                             Case 1:17-cr-10101-IT Document 30 Filed 08/22/17 Page 6 of 6
AO 24SB (Rev. 10/15) Judgment in a Criminal Case
        Sheet 6 — Schedule of Payments
                                                                                                                Judgment—Page               of

 DEFENDANT:             KEVIN AMELL
 CASE NUMBER:                 1: 17 CR 10101              - IT    - 1


                                                          SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the totalcriminal monetary penalties is due as follows:
 A     0     Lump sumpayment of $            100.00               due immediately, balance due

             •       not later than                                     ,or

             •       in accordance       •     C,     •    D,    •      E, or    •    F below; or

 B     •     Payment to beginimmediately (may be combined with                  DC,        • D, or       • F below); or
 C     •     Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                             (e.g., months or years)y to commence                       (e.g., 30 or 60days) after the date of this judgment; or

 D     •     Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                          (e.g., months or years)y to commence                        (e.g., 30 or 60days) after release fi-om imprisonment to a
             term of supervision; or

 E     •     Paymentduringthe term of supervised releasewill commence within                                 (e.g., 30 or 60 days) after release from
             imprisonment. The court will setthe payment plan based onanassessment ofthe defendant's ability topay at that time; or
       0     Special instructions regarding thepayment of criminal monetary penalties:
                 Payment of restitution shall begin immediately and shall be made according to the requirements ofthe Federal
                 Bureau of Prisons' Inmate Financial Responsibility Program while the defendant is incarcerated and according to a
                 court-ordered repayment schedule during the term of supervised release, based on an assessment ofthe
                 defendant's ability to pay at that time.




 The defendant shall receive credit forallpayments previously made toward any criminal monetary penalties imposed.



 •     Joint and Several

       Defendantand Co-Defendant Names and Case Numbers(including defendant number)y Total Amount, Joint and SeveralAmount,
       and correspondingpayee, if appropriate.




 •     The defendant shall pay the cost of prosecution.

 •     The defendantshall pay the following court cost(s):

 0     The defendantshall forfeitthe defendant's interestin the following property to the UnitedStates:
           $1,954,457.00



 Payments shall beapplied inthe following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost ofprosecution and court costs.
